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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 ALCHEM INCORPORATED,
                                             Case No. 2:20-cv-03142-JDW
              Plaintiff,

       v.

 TAYLOR CAGE, et al.,

              Defendants.


                                        ORDER

      AND NOW, this 21st day of October, 2021, upon consideration of Defendant North

America Nicotine, Inc.’s Renewed Motion For Summary Judgment (ECF No. 95), Defendant

Taylor Cage’s Motion For Partial Summary Judgment (ECF No. 96), and Plaintiff Alchem

USA, Inc.’s Motion For Reconsideration Of This Honorable Court’s Order Of August 26,

2021 (ECF No. 101), and for the reasons set forth in the accompanying Memorandum, it

is ORDERED as follows:

      1.     NAN’s Renewed Motion For Summary Judgment (ECF No. 95) is GRANTED;

      2.     Summary judgment is GRANTED in favor of NAN and AGAINST Alchem as

to Counts IV, V, and VII (*incorrectly designated as Count VI) of the Amended Complaint;

      3.     Ms. Cage’s Motion For Partial Summary Judgment (ECF No. 96) is

GRANTED;
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      4.     Summary judgment is GRANTED in favor of Ms. Cage and AGAINST

Alchem as to Counts IV and VII (*incorrectly designated as Count VI) of the Amended

Complaint; and

      5.     Alchem’s Motion For Reconsideration Of This Honorable Court’s Order Of

August 26, 2021 (ECF No. 101) is DENIED. On or before October 29, 2021, Alchem shall

provide the Clerk of Court with an unredacted version of Exhibit 10 to its Response In

Opposition To The Motion For Summary Judgment Filed By North America Nicotine,

which may be substituted for the document filed at ECF No. 98-14.

                                              BY THE COURT:

                                              /s/ Joshua D. Wolson
                                              JOSHUA D. WOLSON, J.




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